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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JULIA BRIGGS, Individually and on Behalf             )
Of All Other Similarly Situated,                     )
                                                     )
                      Plaintiff,                     )
                                                     )
       v.                                            )      Case No. 22-cv-03705
                                                     )
STRATEGIC FINANCIAL SOLUTIONS,                       )      Hon. Edmond E. Chang
LLC, VERSARA LENDING, LLC, and JOHN                  )
DOES 1-100,                                          )
                                                     )
                      Defendants.                    )

DEFENDANT STRATFS, LLC’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS,
  OR IN THE ALTERNATIVE, TO STAY ACTION AND COMPEL ARBITRATION

                                       INTRODUCTION

       Briggs’ response brief 1 makes clear that her claims against StratFS, LLC (“SFS”) are not

properly before this Court. For starters, this Court does not have personal jurisdiction over SFS.

To that end, SFS has provided the declaration of Ryan Sasson, which establishes that SFS has no

operations, employees, or presence in Illinois that would give rise to personal jurisdiction. That

declaration is unrefuted. Briggs has not produced a counter-affidavit. Nor has she produced

evidence of any kind. Instead, she relies on nothing more than the allegations in her complaint and

a series of unauthenticated documents she purportedly found on the internet. That is insufficient,

and the claims against SFS should be dismissed for lack of personal jurisdiction.




1
 Briggs filed a single response to both SFS’s motion to compel arbitration and dismiss (Dkt. 19)
and co-Defendant Versara Lending, LLC’s (“Versara”) motion to dismiss and compel arbitration.
(Dkt. 18) In her response, Briggs inaccurately characterizes Versara’s motion as only a motion to
compel arbitration, and SFS’ motion as only a motion to dismiss. (Dkt. 27 at 1-2) Both Defendants
have made separate arguments as to the grounds for dismissal, and SFS has joined certain portions
of Versara’s motion.
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       However, even if this Court determines that jurisdiction is proper in this Court (and it is

not), Briggs’ claims still do not belong here. Briggs’ response brief simply underscores the main

point of SFS’s second argument: Briggs is attempting to avoid her agreement to arbitrate and her

class action waiver by strategically omitting Burnette Legal Group, LLC (d/b/a Monarch Legal

Group and hereinafter “Monarch”) from the caption in this case. Briggs signed a contract with

Monarch, and Monarch was the entity that provided services to her. Indeed, all of Briggs’ claims

for relief arise from shortcomings (whether real or imagined) in the services delivered by Monarch.

Briggs cannot change that fundamental reality simply by omitting Monarch as a defendant and

making vague collective allegations of “fraud” that lump Defendants and other non-parties

together, and obscure which ones, if any, engaged in the conduct of which Briggs complains.

       Similarly, Briggs cannot avoid arbitration simply by using SFS as a stand-in for Monarch.

Briggs does not deny the existence of a valid arbitration agreement. Nor can she. Her Retention

Agreement with Monarch contains a clear and unambiguous arbitration provision. Instead, Briggs

urges this Court to find that SFS, as a non-signatory to that arbitration agreement, cannot enforce

it. However, this Court need not (and, in fact, cannot) reach that issue. The arbitration agreement

at issue contains an express delegation provision that reserves “any determination of the scope or

applicability of this agreement to arbitrate” to an arbitrator. As the United States Supreme Court

has repeatedly held, that delegation must be honored. Thus, the question of whether Briggs’ claims

against SFS are arbitrable must be decided by an arbitrator rather than this Court.

       Finally, in the event this Court declines to compel arbitration and stay these proceedings,

this Court should dismiss the claims against SFS under Rule 12(b)(6) for failure to state a claim.




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                                              ARGUMENT

I.      This Court Should Dismiss This Matter For Lack Of Personal Jurisdiction.

        Briggs bears the burden of establishing a basis for exercising personal jurisdiction over

SFS. Hyatt Int'l Corp. v. Coco, 302 F.3d 707, 713 (7th Cir. 2002); Mussat v. IQVIA, Inc., 953 F.3d

441, 447 (7th Cir. 2020) (In a putative class action, “named representatives must be able to

demonstrate either general or specific personal jurisdiction [over the defendant].”). With its

motion, SFS has provided the declaration of Ryan Sasson that establishes that SFS: (1) is not an

Illinois entity; (2) is not registered to do business in Illinois; (3) does not have an office in Illinois;

(4) does not have business operations or employees in Illinois; (4) does not sell products or services

of any kind; (5) does not hold bank accounts in Illinois; (6) is not the parent of any Illinois

subsidiaries; and (7) is not the parent of any subsidiary that has a physical presence or employees

in Illinois. (Dkt. 18-1 at ¶¶ 1-4) Rather, SFS is a holding company. (Dkt. 18-1 at ¶ 4) While

Monarch Client Services, LLC (a vendor to Burnette Legal Group) is a SFS subsidiary, SFS does

not direct or control its operations. (Dkt. 18-1 at ¶¶ 5-7)

        In response, Briggs did not submit any counter-affidavits to refute the facts set forth in the

Sasson Declaration. The result of that failure is that Briggs cannot meet her burden:

        A complaint need not include facts alleging personal jurisdiction. However, once
        the defendant moves to dismiss the complaint…for lack of personal jurisdiction,
        the plaintiff bears the burden of demonstrating the existence of jurisdiction. When
        the court rules on the motion without a hearing, the plaintiff need only establish a
        prima facie case of personal jurisdiction. The court reads the complaint liberally,
        in its entirety, and with every inference drawn in favor of the plaintiff to determine
        whether it has done so. Once the defendant has submitted affidavits or other
        evidence in opposition to the exercise of jurisdiction, the plaintiff must go beyond
        the pleadings and submit affirmative evidence supporting the exercise of
        jurisdiction. The plaintiff is entitled to have any conflicts in the affidavits (or
        supporting materials) resolved in its favor. Unrefuted facts in defendant’s
        affidavits, however, will be taken as true.




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Moore v. Charter Comm’n, Inc., 523 F. Supp. 3d 1046, 1050 (N.D. Ill. 2020) (internal quotations

and citations omitted) (emphasis added); see also First Fin. Leasing Corp. v. Hartge, 671 F.Supp.

538, 539-40 (N.D. Ill. 1987) (“[W]here an affidavit refutes the allegations of the complaint, the

affidavit must be taken as true unless the plaintiff submits counteraffidavits which dispute the

representations made.”); ABN AMRO, Inc. v. Capital Int’l, Ltd., 595 F. Supp. 2d 805, 818 (“[I]f

the defendant submits affidavits or other evidence in opposition, the plaintiff must go beyond the

pleadings and submit affirmative evidence supporting the exercise of jurisdiction.”).

         Put simply, it is not sufficient, as Briggs has done here, to merely point back to allegations

in the complaint and unauthenticated materials and claim they establish personal jurisdiction over

SFS. (See Dkt. 27 at 8-10) In response to SFS’s motion, Briggs was required to put forth counter-

affidavits and actual evidence to refute the specific factual points raised in the Sasson declaration.

She has not done so. Accordingly, this Court should grant SFS’s motion to dismiss for lack of

personal jurisdiction.

III.     If This Court Finds That It Has Jurisdiction Over SFS, SFS Joins Versara’s Motion
         To Stay And Compel Arbitration.

         Concurrent with the filing of SFS’s motion, Co-Defendant Versara filed a motion to stay

this action and compel arbitration of Briggs’ claims. SFS submits that the same analysis applies

with equal force to Briggs’ claims against SFS, and SFS expressly adopts and incorporates by

reference Versara’s motion to compel arbitration, reply brief in support thereof, exhibits and cited

authority as though fully restated herein. Specifically, the Retainer Agreement between Briggs

and Monarch contains a delegation clause that expressly delegates all issues of arbitrability to an

arbitrator. Under the authority of the United States Supreme Court, that delegation provision must

be honored, and the questions of whether Briggs’ claims against SFS fall within the agreement to

arbitrate, and whether SFS may enforce the arbitration provision, are questions for the arbitrator –


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not this Court. Versara Mot. Compel Arb. and Reply; see also, e.g., Buckeye Check Cashing, Inc.

v. Cardegna, 546 U.S. 440, 445–46 (2006); Howsam v. Dean Witter Reynolds, Inc., 537 U.S. 79,

83 (2002); Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 68–71 (2010); Henry Schein, Inc. v.

Archer and White Sales, Inc., 139 S. Ct. 524, 529 (2019); Gore v. Alltel Comm’n, LLC, 666 F.3d

1027 (7th Cir. 2012); Scheurer v. Fromm Family Foods LLC, 863 F.3d 748 (7th Cir. 2017); K.F.C.

v. Snap Inc., 29 F.4th 835, 838 (7th Cir. 2022). Accordingly, for all the same reasons in Versara’s

motion to compel arbitration and reply in further support thereof, SFS respectfully requests that

this Court stay this action and compel arbitration of Briggs’ claims against it.

IV.     In The Alternative, This Court Should Dismiss The First Amended Complaint
        Because It Fails To State Claims.

        A.     Count I (Fraud) Should Be Dismissed.

        Fraud claims are subject to the heightened pleading requirement of Rule 9(b). Fed. R. Civ.

P. 9(b); Cornielsen v. Infinium Cap. Mgmt., LLC, 916 F.3d 589, 598 (7th Cir. 2019); Pirelli

Armstrong Tire Corp. Ret. Med. Ben. Tr. v. Walgreen Co., 631 F.3d 436, 441 (7th Cir. 2011)

(“[T]he particularity requirement of Rule 9(b) is designed to discourage a ‘sue first, ask questions

later’ philosophy.”). “The plaintiff must describe the ‘who, what, when, where, and how’ of the

fraud – ‘the first paragraph of any newspaper story.’” United States ex rel. Berkowitz v. Automation

Aids, Inc., 896 F.3d 834, 839 (7th Cir. 2018). Although “[m]alice, intent, knowledge, and other

conditions of a person’s mind may be alleged generally,” Fed. R. Civ. P. 9(b), a plaintiff must still

plead sufficient facts from which a court can reasonably infer that the defendant acted with the

requisite state of mind. Biggers Holdings LLC v. Garcia, 21 CV 4680, 2022 WL 3107617, *5

(N.D. Ill. Aug. 4, 2022).

        In her 200+ paragraphs of allegations, Briggs does not allege a single conversation she had

with SFS employees or a statement made by SFS that was untrue. Briggs does not allege that SFS


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engaged in any wrongful conduct with respect to her. The extent of Briggs’ allegations against

SFS is that she received a retainer agreement from Monarch, which, “[o]n information and belief,”

was drafted by SFS. (FAC ¶ 38) See, e.g., Pirelli, 631 F.3d at 442-43 (“A plaintiff who alleges

fraud can provide all the detail in the world, but does not have unlimited leeway to do so on

‘information and belief.’”). That is not sufficient to sustain the sweeping fraud claims that she

alleges against SFS. Notably, in her response (as in her complaint), Briggs does not even attempt

to differentiate between SFS, Versara, Monarch, and other third-parties. SFS submits that is by

design, and Briggs cannot escape dismissal by lumping those parties together and claiming fraud.

       In her response, Briggs claims that she “easily satisfies” her pleading burden because she

has alleged that: (1) Defendants mailed an invitation to apply for a debt consolidation loan to her;

and that (2) SFS engineered an entire scheme to “hide behind purported attorney-client

relationships.” Those allegations, however, do not appear in Briggs’ complaint. With respect to

the former, Briggs generally alleges that a fictional entity called Polo Funding mailed a letter to

Briggs regarding debt consolidation loans. (Dkt. 5 at ¶ 36) There is nothing in Briggs’ complaint

that alleges that SFS sent the Polo Funding letter to Briggs. With respect to the latter, while Briggs

has cobbled together an interesting story, there are no allegations in her complaint that SFS ever

made any representations to her. Indeed, as SFS has no employees, SFS did not make any

representations to her. (Dkt. 18-1 at ¶ 3) All of the individuals about whom Briggs complains

work for other entities. While those entities may be owned, in whole or in part, by SFS, they are

separate entities with separate operations. This simply underscores the thrust of SFS’ motion –

Briggs has sued the wrong parties in this case. Accordingly, Count I should be dismissed.




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       B.      Count II (Violations Of The Illinois Consumer Fraud Act) Should Be
               Dismissed.

       The elements of a fraud claim under the CFA are the same as common law fraud, except

that a plaintiff is not required to plead reliance. Connick v. Suzuki Motor Company, 675 N.E.2d

584, 593 (Ill. 1996). A complaint alleging a CFA violation that is “premised upon a course of

fraudulent conduct” must be pled with the same particularity and specificity as that required for

common law fraud. Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 736-37 (7th Cir. 2014).

Accordingly, Count II fails for all the same reasons that Count I fails. Briggs has not alleged any

specific misrepresentations by SFS. Count II should be dismissed.

       C.      Count III (Unjust Enrichment) Should Be Dismissed.

       In her response, Briggs does not address the motion to dismiss Count III at all.

Accordingly, she has waived any arguments against dismissal. Moreover, “unjust enrichment is

not a separate cause of action.” Vanzant, 934 F.3d at 739-40 (citing Pirelli, 631 F.3d 436, 447 (7th

Cir. 2011)). For that reason, and because Counts I and II fail, Briggs’ unjust enrichment claim

should be dismissed. Mulligan v. QVC, Inc., 888 N.E.2d 1190 (Ill. App. Ct. 2008); Cleary v. Philip

Morris Inc., 656 F.3d 511, 518 (7th Cir. 2011); Pirelli, 631 F.3d at 447.

       WHEREFORE, for the reasons set forth herein and in its opening Motion, Defendant,

StratFS, LLC, respectfully moves this Court, to: (1) dismiss the claims against it pursuant to

Federal Rule of Civil Procedure 12(b)(2) for lack of personal jurisdiction; or, in the alternative, (2)

stay this matter and compel arbitration, or, in the alternative, (3) dismiss the claims against it

pursuant to Federal Rule of Civil Procedure 12(b)(6). In addition, SFS respectfully requests that

this Court award its reasonable attorneys’ fees, costs, and expenses and any other such relief as

this Court deems just and necessary.




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Date: January 4, 2023                       Respectfully submitted,

                                            By /s/ Timothy D. Elliott

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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 4, 2023, I caused the foregoing document to be filed
electronically with the Clerk of the Court through ECF and to be served upon all counsel of
record by filing the same with the CM/EFC system.


                                                            By:     /s/Timothy D. Elliott




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